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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

   CommScope, Inc., CommScope Inc. of ) Civil Action No. 19-cv-15962-JXN-
   North Carolina, and CommScope             ) LDW
   Technologies, LLC,                        )
                                             )
               Plaintiffs,                   )
                                             ) CERTIFICATE OF SERVICE
   v.                                        )
                                             )
   Rosenberger Technology (Kunshan)          )
   Co. Ltd., Rosenberger Asia Pacific        )
   Electronic Co., Ltd., Rosenberger         )
   Technology LLC, Rosenberger USA           )
   Corp., Rosenberger North America          )
   Pennsauken, Inc., Rosenberger Site        )
   Solutions, LLC, Rosenberger               )
   Hochfrequenztechnik GmbH & Co.            )
   KG, Northwest Instrument, Inc.,           )
   CellMax Technologies AB,                  )
                                             )
               Defendants.                   )
                                             )
         I, Edward G. Sponzilli, hereby certify that on the date set forth below, the

  following documents were electronically filed and served on all counsel of record

  via the Court’s CM/ECF system: (1) Notice of Joint Motion of All Parties to

  Reconsider the Denial of the Requested Extension Based on New Information, or,

  in the Alternative, to Stay the Litigation; (2) the Brief in Support of the Joint

  Motion; (3) the Declaration of Sammit Patel; (4) the Declaration of Jim Miao;

  (5) the Declaration of Randall E. Kahnke; (6) Declaration of Michael S.

  DeVincenzo; (7) the Proposed Order; and (8) this Certificate of Service.
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   Dated: April 14, 2022             /s/ Edward G. Sponzilli
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